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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No.: 1:20-cv-00742-DDD-KLM

  JAMES COREY GOODE, individually and,
  GOODE ENTERPRISE SOLUTIONS INC.,

  Plaintiffs,

  v.

  GAIA, INC.,
  JAY WEIDNER,
  BENJAMIN ZAVODNICK,
  ALYSSA MONTALBANO,
  JIRKA RYSAVY,
  BRAD WARKINS, and
  KIERSTEN MEDVEDICH

  Defendants.

  ----
  Alyssa Chrystie Montalbano, Individually

  Counter-Claimant,

  v.

  James Corey Goode, individually, and
  GOODE ENTERPRISE SOLUTIONS INC.

  Counter-Defendants,

  LIGHT WARRIOR LEGAL FUND, LLC;
  David Wilcock,
  THE WILCOCK SPIRITUAL HEALING AND
  EMPOWERMENT FOUNDATION
  Valerie Yanaros Wilde,
  Elizabeth Lorie,
  Brian James Flynn,
  William Campbell,
  Matthew Grove,
  Diana Terry, and
  Christina Gomez

  Third-Party Defendants


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                                ALYSSA MONTALBANO
                  EMERGENCY MOTION TO RULE ON MOTIONS
    PURSUANT Colorado Constitution, Bill of Rights, Section 6, 10, 23, 24, 25, and 28; and
       United States Constitution, Amendment XIV, Section 1, and Amendment VI,
                                     Clauses 2 and 3


     COMES NOW, Defendant, Counterclaimant, and Third-Party Plaintiff, Alyssa Chrystie

  Montalbano and moves this Court; without accepting the jurisdiction of the Court devoid of

  Constitutional Law pursuant oaths sworn by the attending public officers and presiding Judges to

  uphold Constitutional Law first (U.S. Constitution, Amendment VI, Clauses 2 and 3); to

  immediately Grant the following Motions filed by Ms. Montalbano: 1) Motion Recuse [#303],

  2) Motion Joinder [#320], 3) Motion Constitutional Rights [#334], pursuant to (but not limited

  to) Colorado Constitution, Bill of Rights, Sections 6, 10, 23, 24, 25, 28; and United States

  Constitution, Amendment XIV, Section 1:


                                         I.      CONFERRAL

         Montalbano has made efforts to confer with all parties regarding this Motion.


  The following parties are marked as Opposed due to being unreachable for conferral:

  pro se litigants Mr. David Wilcock and WILCOCK FOUNDATION; Ms. Elizabeth Lorie;

  Mr. Benjamin Zavodnick;


  The following parties have No Position on the motion or relief requested herein:

  GAIA Inc., Mr. Jirka Rysavy, Ms. Kiersten Medvedich, Mr. Brad Warkins; Mr. Jay Weidner;

  Mr. Brian James Flynn, Mr. Matthew Grove, Ms. Diana Terry, Ms. Christina Gomez,

  Mr. William Campbell; Ms. Valerie Yanaros, Mr. James Corey Goode, LIGHT WARRIOR

  LEGAL FUND LLC; GOODE ENTERPRISE SOLUTIONS INC.
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                        II.   RELVANT PROCEDURAL BACKGROUND


     This instant case, and thereby Montalbano‟s pending counterclaims [#217, #308, #315], have

  been stayed [#182] since April 26, 2021 (19 months) and involve the following relevant related

  cases:


     a. Case 18CV50 [#27, opened June 25, 2018, Montalbano v. Goode]

     b. Case 1:22-CV-02224-CNS [#329, Case 18CV50 removed to Federal Court,

           August 26, 2022]


  December 22, 2020, Montalbano filed her original Counterclaims and an Answer [#120] to

  James Corey Goode‟s second amended complaint [#111, December 8, 2020]; and Montalbano

  made subsequent amendments to her counterclaims [#217 Admitted 2nd Amended

  Counterclaims, June 18, 2021;        #308 pending amended RICO claim, June 6, 2022;

  #315 pending amended Deprivation Rights Claim, June 30, 2022]


  Montalbano requested the stay be lifted from her claims [#262] December 10, 2021 (1 year

  ago), as her claims do not depend on the other defendant‟s claims against Mr. Goode and

  because witnesses are dying while waiting and prejudicial burdens continually unlawfully accrue

  against Montalbano while waiting. Montalbano‟s Motion to Lift Stay was prejudicially denied by

  Magistrate Mix March 8, 2022 (9 months ago) [#286] and Montalbano filed a timely objection

  March 20, 2022 [#289].


  Magistrate Mix filed a Recommendation on February 28, 2022 (over 9 months ago) [#283] to

  dismiss Montalbano‟s second amended counterclaims [#217] against her co-workers (who lie in

  court) under false premises of „immunity‟ and perjured her Oath of Office. March 23, 2022
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  (over 8 months ago), Montalbano objected [#290] to Magistrate Mix‟s recommendation and

  cited the civil rights violations therein. The recommendation and objection remain pending

  before Judge Domenico.


  Montalbano filed a Motion for Judicial Notice [#295], April 12, 2022, requiring specified

  sections of the State and National Constitutions be acknowledged as obvious fact, along with the

  obvious fact of the job function of sworn-in judicial officers as outlined therein be acknowledged

  on this court record. [#295, Nos. 2-9] Magistrate Mix denied the Constitutional facts in the

  motion [#302] April 29, 2022.


  May 3, 2022 (7 months ago), Montalbano filed a Motion to Recuse [#303] Magistrate Mix, for

  prejudice, bias, and openly breaking Constitutional Law (perjury). July 5, 2022 (5 months ago)

  Magistrate Mix refused to step down [#316] even though it was/is painfully obvious she was/is

  clearly biased for her lying peers and lying famous artists so much so she repeatedly breaks

  Constitutional Law or recommends breaking Constitutional Law under false premises of

  following secondary inferior and irrelevant laws (notably laws designed for faithfully performing

  officers, which her summoned peers are not) and then she illegally litigates on their behalf from

  the bench to cover up for them. Montalbano filed a timely objection/appeal July 12, 2022

  (5 months ago) [#318] to her biased refusal to step down, that remains pending before Judge

  Domenico.


  As a reminder, Montalbano has an inalienable Constitutional Right to have honest judges in

  Courts of law who follow all Constitutional Laws first (in-fact and reality), just like they swore

  they would (U.S. Const., Amend. VI, Cl. 2 and 3; Colo. Const., Bill of Rights, Sec 6). Upholding

  Constitutional Law is especially important if the CIA, DOD, and other government programs and
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  people are involved with Goode and Wilcock in their public frauds [#217, ¶¶127-206; #121-9

  CIA BLUEBIRD; #121-11 CIA Telepathic Behavior Modification; #121-12 thru #121-17

  frequency patents, CIA psychic warfare/A.I. programs; #308, RICO; #225-4 Havana Act 2021

  CIA remedy for remote brain assaults; #278-1 Chile neuro rights law] and all aspects of this

  matter must be handled correctly and fairly for everyone by impartial judges who follow

  Constitutional Law in-fact and reality and stand up for the American people and their Civil

  Rights just like they swore they would. If Judges will in-fact follow the law in this matter,

  Montalbano will be able to navigate the coming situations to help correct the root problems

  involving the abuse of technology and innocent people.


  During the stay of this instant case, Mr. Thomas D. Seaman dba ALPINE JUDGMENT

  RECOVERY (“AJR”) entered case 18CV50, July 8, 2022 (5 months ago) [#320-1 at 1], to collect

  on Brian Flynn‟s fraud judgment of $116,600 [#325-2] illegally awarded to Goode.

  Mr. Seaman/AJR provided the State Court with a contractual agreement [#320-1 at 3-4] between

  themselves and Mr. Goode, dated June 16, 2022, whereby Seaman/AJR believe themselves and

  Goode are entitled to have money from Montalbano based on Flynn‟s illegal dismissal orders

  [#325-1] and fraud judgment [#325-2].


  Montalbano informed this court and its officers, Magistrate Mix and Judge Domenico, of this

  new problem, August 3, 2022 (4 months ago), and of the unfair and prejudicial damages that

  would further illegally accrue against Montalbano (stemming from Flynn‟s court told lies) via

  [emergency] Motion Required Joinder Mr. Seaman/AJR [#320] with this instant case and via

  August 5, 2022 Motion Stay/Consolidate [#322] case 18CV50 with this instant case. Both these

  motions remain pending before Judge Domenico and can no longer be ignored without it being

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  civil rights violation against Montalbano due to inaction to stop illegal activities as

  Mr. Seaman/AJR/Goode are trying to lawlessly enforce Flynn‟s fraud orders against an innocent

  American Citizen, Montalbano.


  Magistrate Mix knows Goode defamed Montalbano, 2018 to current, and recommended

  Montalbano‟s Defamation claim proceed against Mr. Goode [#283 at 39]. Magistrate Mix saw

  the same defamation facts as Flynn, who lied in state court he didn‟t see them [#121-24]. The

  state court‟s defamation records are filed in this case [#121-21] and remain undisputed by Flynn

  and his counsel as being seen by Flynn in case 18CV50; they have only argued Flynn has

  immunities to lie in court (err), ignore evidence (err), or conversely he can make HUGE mistakes

  (err) that take away civil rights of innocent individuals and never fix them [#222, Judicial

  Defendants MTD]. All of Flynn‟s court arguments are perjury of his Oath of Office and none of

  them dispute the fact Flynn saw the defamation facts [#121-21] and did nothing to stop it;

  thereby Flynn admitted he has broken Colorado Constitution, Bill of Rights, Section 10; and the

  pending Deprivation of Rights claim [#315] must proceed against Flynn and et. al. for the

  $116,600+ in damages due to Montalbano (not due to Goode/Seaman/AJR) and additional

  remedies must also be awarded to Montalbano for over four (4) years of harassment and

  financial loses directly resultant from Flynn‟s perjury.


  Magistrate Mix has repeatedly refused to hold her licensed peer, Brian James Flynn, accountable

  for lying in court even though she knows he lied and she cruelly persists in refusing to fix his

  malicious acts, thus the motion to recuse her for prejudice, bias, and perjury.

  [#303 Motion Recuse; #315 Deprivation Rights Claim]




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  August 26, 2022 (over 3 months ago), Montalbano removed case 18CV50 to Denver Federal

  Court, (Case 1:22-CV-02224-CNS [#329]) for joinder/consolidation of the state court case with

  this instant case, as the defamation claim from case 18CV50 is the same defamation claim and

  facts pending to proceed to trial against Mr. Goode this instant case, and the same defamation

  facts Flynn lied were not defamation in case 18CV50.


  Mr. Seaman/AJR have admitted they are contracted with Mr. Goode for the $116,600

  [#320-1 at 3-4] which makes them legally and lawfully liable to Montalbano this instant case for

  the same damages due ($116,600+) from Mr. Goode for the same defamation from case 18CV50

  [#217 at 170] pending to proceed to trial in this case [#283 at 39]. Seaman/AJR are also legally

  liable to Montalbano for damages due from Mr. Flynn and et.al. ($116,600+) in the pending

  Deprivation Civil Rights claim [#315] for Flynn lying in state court that the defamation claim

  against Mr. Goode was frivolous, when he knew it was with merit.


  Magistrate Mix was assigned to the removed case 1:22-CV-02224-CNS, August 26, 2022, and

  was well aware of the reasons for removal to the Denver Federal Court (civil rights violations),

  because of presiding over this instant case [#320, #322] and she was/is well aware of Flynn‟s

  malicious court frauds. [#315]


  August 31, 2022, Montalbano immediately did „not consent‟ (EXHIBIT 1 [Docket 5]) to

  Magistrate Mix as Magistrate Judge in removed case 1:22-CV-02224-CNS [#329], and

  immediately    filed   a   motion   to   Recuse    Magistrate    Mix,   September     9,   2022

  (EXHIBIT 2 [Docket 12]) and incorporated this case‟s Motion to Recuse her [#303] by

  reference and included the arguments between Montalbano and Mix [#316; #318] for review.



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  Montalbano required Magistrate Mix to step down in the related case pursuant her Oath of Office

  due to her already showing her pattern of corruption and bias in this instant case.


  September     9,   2022,    Montalbano      re-informed     the    Judicial   Officers     of   case

  18CV50/1:22-CV-02224-CNS that Montalbano had demanded a trial by jury in case 18CV50

  (June 10, 2019) for matters so triable [defamation] and that the Colorado Constitution, Bill of

  Rights, Section 10, trial by jury had never been had and Ms. Montalbano still demanded this

  inalienable Right pursuant due process of law and an Oath of Office to uphold said Rights.

  (Exhibit 3 [Docket 13])


  Goode and Yanaros filed a Motion for Remand on September 26, 2022 (Exhibit 4 [Docket 15])

  and Montalbano filed a Response Objection, October 13, 2022, based on superior Constitutional

  Laws and Constitutional Due Process of Law [Defamation] Rights. (Exhibit 5 [Docket 17])


  Judge Sweeney was allegedly „randomly‟ assigned to the case, November 1, 2022, and the case

  allegedly „drawn to‟ Magistrate Mix.


  Magistrate Mix completely ignored the motion to recuse herself (Exhibit 2) and Montalbano‟s

  Jury demand for Defamation (Exhibit 3) and whereby Flynn disobeyed the jury law in state

  court; and on October 7, 2022, proceeded to file her unlawful „Order to Show Cause‟ papers

  (EXHIBIT 6 [Docket 16]). Montalbano filed an Objection (EXHIBIT 7 [Docket 18]), October

  13, 2022, to the Order based on superior Constitutional Law and citing that Magistrate Mix was

  not qualified to preside over the case for perjury of her Oath of Office to the State and National

  Constitutions requiring her to uphold Constitutional Laws first and cited the recusal motion

  (Exhibit 2) pending before the Court must first be addressed. Magistrate Mix, ignored court

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  rules of recusal and all Constitutional Laws and perjured herself again on November 1, 2022 and

  made another unlawful recommendation for remand and fraudulently made her „Order to Show

  Cause‟ „absolute‟ (EXHIBT 8 [Docket 19]) completely devoid of Due Process of Law and in

  blatant defiance of Colorado Constitution, Bill of Rights, Section 10 (Defamation Laws). Mix

  was in-fact lawless and „absolutely‟ cruel trying to make Montalbano pay $116,600 for

  something she knows for a fact, Montalbano didn‟t do, i.e. bring a frivolous defamation claim to

  Flynn in state court. [#283 at 39; #315-1 at No. 8-30, Defamation Facts in Deprivation Rights

  Claim]



  November     15,   2022,    Montalbano     filed   a   formal    Notice   of    Disqualification

  (EXHIBIT 9 [Docket 23]) of Magistrate Mix for perjury, as she was repeatedly refusing to

  follow Constitutional Laws in Federal Court; and Montalbano also formally Objected to Mix‟s

  „absolute‟ remand order for the same perjury. (EXHIBT 10 [Docket 24])



  All of Mix‟s papers filed in case 1:22-02224-CNS intentionally ignore and undermine

  Constitutional Laws, her Oath of office, Defamation Jury Rights, and she openly chose a

  different paper (Exhibit 6 at 2 [Docket 16]) than the State Court Order cited by Montalbano as

  the initiating document for timely removal, whereby tolling of time rules also applied

  (EXHIBIT 11, Nos. 22-24 -- Notice Removal). Magistrate Mix has a pattern of intentionally

  selecting wrong papers and wrong court rules to litigate from the bench for her licensed peers

  and unlawfully damage her equal American Citizen peer, Montalbano. Montalbano has a legal

  right to have tolling of time orders and rules also apply to her the same way they do for

  attorneys. Magistrate Mix, prejudicially took this Right away from Montalbano, the same way

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   her corrupt summoned Colorado Court of Appeals peers did in Case 20CA1775. [#105 Notice

   Appealed Case 18CV50; #315-1, Nos. 77-89 Deprivation Rights Appeals Officers]


   Magistrate Mix knowingly failed to uphold Colorado Constitution, Bill of Rights, Section 10, in

   case 1:22-CV-02224-CNS. Constitutional Defamation Laws required Mix to first recommend

   Flynn‟s order be vacated and that the case go to trial by jury, and thereby she should have

   simultaneously recommend case 1:22-CV-02224-CNS be joined/consolidated to this instant case

   pursuant her Oath of Office as the Civil Rights defamation matters at issue are the same as those

   in this superseding case.



   Judge Sweeney knew Magistrate Mix was perjuring herself in the Order to Show cause and

   Recommendation because Montalbano clearly pointed these facts out for her on the Federal

   Court record (Exhibits: 2, 3, 5, 7, 9, 10) Montalbano reasonably expected Judge Sweeney to still

   honor Constitutional Law and her Oath of Office, even though her peer Magistrate Mix was

   severely corrupt and failing; however, Judge Sweeney was also corrupt and unlawfully adopted

   the remand recommendation, November 16, 2022, and perjured herself at least nine (9) times and

   broke at least eleven (11) constitutional laws (all in one go) in addition to breaking the obvious

   Constitutional Defamation Laws and Jury due-process-of-law Right.(EXHIBIT 12 [Docket 27],

   ACM Objection/Notice Void Order Civil Rights Violations)



   The remand recommendation of Mix‟s was not a surprise for Montalbano as Montalbano already

   knew Magistrate Mix‟s „bend of mind‟ for remand even before Ms. Yanaros contacted

   Montalbano regarding conferral for a remand motion due to already experiencing it with Mix in



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   a dream state (Exhibit 7 at 7-10) and (as often usual) the person in waking states, Ms. Mix, did

   the same thing she did in the dream states with Montalbano.



   Magistrate Mix has made it very clear she will not uphold all due-process-of-law laws in Federal

   Court or follow all Court rules when a pro se litigant is involved and will do her best to regularly

   find any rule or civil rights violating case law she can find to undermine Constitutional Laws and

   illegally justify herself and her peers breaking Constitutional Laws together in courts of law to

   destroy innocent American Citizens‟ rights to have equal treatment in Court and equal

   application   of   court    rules     and   laws   (Colorado    Constitution,   Bill    of   Rights,

   Sections 6, 23, 24, 25, and 28).


   Due to the unnecessary extended stay of Montalbano‟s counterclaims, additional burdens and

   damages from the aforementioned cases have accrued against Montalbano, costing her thousands

   more dollars in time and burdensome court fees and paper writing, rather than those hours being

   spent in her crafting business working on production of craft products from Halloween through

   Christmas. Magistrate Mix has cost Montalbano significant loses in income and business since

   March 2022, and these damages should have been prevented by her.


                                       III.    MOTIONS TO RULE ON


      The following Motions are respectfully demanded to be immediately Granted pursuant

   Colorado Constitution, Bill of Rights, Sections 6, 10, 23, 24, 25, and 28; and United States

   Constitution, Amendment XIV, Section 1, and Amendment VI, Clauses 2 and 3; to uphold

   Montalbano‟s inalienable Constitutional Civil Rights:



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      1. Motion to Recuse Magistrate Judge Mix, filed May 3, 2022 [#303, pending 7 months] be

         immediately granted; and a faithfully performing officer be assigned this instant case.


      2. Motion to Join Thomas D. Seaman/ALPINE JUDGMENT RECOVERY (“AJR”) to

         Montalbano‟s claims, filed August 3, 2022 [#320, pending 4 months], be immediately

         granted and;

         a. Clerk issue summons for Thomas D. Seaman / AJR, filed August 3, 2022 [#321]



      3. Motion to Claim and Exercise Constitutional Rights, filed November 8, 2022

         [#334, pending 1 month], be immediately granted pursuant an Oath of Office.



                          IV.    ADDITIONAL MATTERS TO ADDRESS


         Montalbano also respectfully demands a decision be made regarding Mr. Goode‟s

      December 8, 2020 complaint [#111, pending 2 years] against Montalbano, for which answers

      have already been filed since December 22, 2020 [#120 (original counterclaims and Answer)

      #217 (2nd amended counterclaims, same original Answers)]. It is prejudicial to ignore

      Goode‟s claims against Montalbano as these unfair delays are causing personal, emotional,

      and professional damages to Montalbano every day. All of Goode‟s claims against

      Montalbano should be dismissed with prejudice and Goode be ordered to compensated

      Montalbano for years of he and Yanaros‟ court frauds, SLAPP cases and defamation

      harassment [#217 Defamation, Abuse of Process, Malicious Prosecution claims;

      #308, pending RICO claim] to include awarding Montalbano the $116,600+ in punitive

      damages, other damages, and issuing injunctive relief.

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                                        V.        ARGUMENTS


      1. Motion to Recuse Magistrate Judge Mix [#303]


         The recusal of Magistrate Mix was filed due to her willful participation in multiple civil

         rights violations against her equal American Citizen, Ms. Alyssa Chrystie Montalbano,

         and for her repeat failure to follow all Constitutional Laws, pursuant her Oath of Office,

         when her co-workers are involved in breaking the law [#315-1 Deprivation Civil Rights].

         Notably Ms. Mix maliciously failed to uphold Defamation Laws surrounding case

         18CV50 [#27, #329] (Colo. Const., Bill of Rights, Sec. 10) and she must be ordered to

         step down from this case for her willful failures.



         Montalbano incorporates by reference the Notice of Disqualification of Magistrate Mix

         [#335] and its attached exhibits filed November 23, 2022, and they are incorporated

         herein, as a record of Ms. Mix‟s Constitutional lawlessness when her co-workers are

         involved in Constitutional civil rights violations and in further support of her recusal.



         The Motion to recuse Magistrate Mix, must be immediately granted to allow a faithfully

         performing Judicial Officer to be assigned this instant case who will in-fact follow all

         Constitutional Laws and be fair and impartial in-fact and in reality.




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      2. Motion to Join Thomas D. Seaman/ALPINE JUDGMENT RECOVERY [#320]



         Case 18CV50 [#27, #329], Mesa District Civil Court, will consistently be removable to

         Federal Court for civil rights violations anytime a new paper or order is filed seeking to

         enforce Flynn‟s State Court fraud orders/judgment. It will only stop being removable

         when Flynn‟s fraud orders are vacated and a trial by jury is lawfully had for the

         defamation matter pursuant Colorado Constitution, Bill of Rights, Section 10.


         Because Brian James Flynn is the Chief Judge of Mesa District Civil Court, no officer in

         that state courthouse can be trusted to not be bribed, coerced, blackmailed, or otherwise

         manipulated by Brian Flynn, and a Notice of Disqualification of all Judicial Officers has

         been filed for the same. (EXHIBIT 13)



         Mr. Seaman/AJR admit they are legally bound to Mr. Goode [#320-1 at 3-4] and thereby

         they are legally bound to Ms. Montalbano‟s pending claims [#217, #308, #315] against

         Mr. Goode and et. al. for the $116,600+ damages.


         The $116,600 judgment amount is part of the Civil Rights Violations claim pending

         against Mr. Flynn and et. al. [#315]



         The $116,600 judgment amount is part of the Defamation Claim pending to proceed to

         trial by jury [#283 at 39] against Mr. Goode, whereby it will be proven through trial both

         that 1) Goode defamed Montalbano and 2) Flynn lied he did not.




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              Mr. Seaman/AJR are legally trespassers of the law with Flynn (Elliot v. Piersol, 1 Pet.

              328, 340, 26 U.S. 328, 340 (1828 1)) as Flynn does not have powers to break Colorado

              Constitution, Bill of Rights, Section 10 (Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683,

              1687 (1974)) and Mr. Seaman/AJR/Goode have no legal or lawful right to collect on

              broken Constitutional Laws [#315-1 Deprivation Rights].


              Mr. Seaman/AJR/Mr. Goode are again trying to collect on Mr. Flynn‟s court frauds and

              Seaman/AJR have filed the following recent papers in case 18CV50 (Copy received by

              paper mail by Montalbano, December 1, 2022) again seeking money from Flynn‟s court

              told lies and again the case is removable for civil rights violations (EXHIBIT 14).

              Pursuant a judicial officer‟s standard duties, Judge Domenico, is required to mitigate

              these unnecessary financial expenses and burdens from Montalbano and must

              immediately join Mr. Seaman/AJR hereto pursuant Colorado Constitution, Bill of Rights,

              Section 10.


              Mr. Seaman/AJR‟s must be joined to all of Montalbano‟s pending counterclaims against

              Mr. Goode and et.al. [#217, #308, #315] pursuant FRCP 19, as Seaman/AJR want the

              same money at issue this case and based on the same facts.

              It will continue to be prejudicial and unreasonable to make Montalbano continue to

              address Mr. Seaman/AJR in case 18CV50 (or any other new harasser associate of

              Goode‟s therein) and it is unlawful to try to make Montalbano pay $116,600 for




   1
       https://supreme.justia.com/cases/federal/us/26/328/
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              something she didn‟t even do (i.e bring a frivolous Defamation claim2 to Mesa District

              Civil Court) and it would be dangerous to make Montalbano disclose any more of her

              personal and private information to her stalker/defamer/abuser Mr. Goode and his newest

              abuse of process harassment associates, Mr. Seaman/AJR, who are illegally seeking

              invasive and private information [#320-4] about Montalbano that he and Mr. Goode have

              no legal or lawful right to know; and their „judgment‟ claim will be wiped out upon

              proceeding to trial pursuant Colorado Constitution, Bill of Rights, Section 10.


              The motion to Join Thomas D. Seaman this instant case [#320], must be immediately

              Granted pursuant FRCP 19 and an Oath of Office to uphold, Colorado Constitution,

              Bill of Rights, Section 10, and summons issued by the Clerk [#321] for service of process

              upon Mr. Seaman/AJR of Montalbano‟s pending claims [#217, #308, #315] joining them

              hereto.


          3. Motion to Claim and Exercise Constitutional Rights -


              This motion is self-explanatory and must be immediately Granted pursuant an Officer‟s

              Oath of Office and the Laws contained therein must be strictly adhered to pursuant an

              Oath of Office.




   2
       For brevity the Trade Secret Intellectual Property matter is not re-addressed herein.
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                                         VI.       CONCLUSION

          All the aforementioned motions must be immediately Granted pursuant Colorado

   Constitution, Bill of Rights, Sections 6, 10, 23, 24, 25, 28; to prevent additional unlawful

   damages, undue burdens, and even more civil rights violations further accruing against

   Ms. Montalbano for something she didn‟t even do (i.e. bring frivolous claims to Mesa Court);

   and the aforementioned motions must be immediately granted pursuant a judicial officers‟ code

   of conduct duty to mitigate court expenses and undue burdens upon litigants and in particular,

   Montalbano, as she can no longer wait without severe damages occurring to her personally and

   professionally and being placed in danger of physical harm or other assaults by Goode and his

   associates for something she is completely innocent of.




          WHEREFORE, pursuant an Oath of Office binding [Judicial] Officers to uphold

   Constitutional Law first, and upon all [Judicial] Officers swearing they will only use state laws,

   case laws, and court rules to uphold Constitutional Laws (U.S. Const., Art. VI, cl. 2 and 3), the

   following motions must be immediately Granted: 1) Motion to Recuse Magistrate Mix [#303],

   2) Motion to Join Mr. Seaman/AJR [#320], 3) Motion Claim and Exercise Constitutional Rights

   [#334]; and Goode‟s complaint [#111] against Ms. Montalbano must be dismissed with prejudice

   and Montalbano be compensated for all damages caused by Goode and et. al.; together with any

   other relief this Court‟s faithfully performing [Judicial] Officers deem just and necessary to

   uphold the Constitution of the United States of America and the State of Colorado‟s Constitution

   and civil Rights contained therein (Colo. Const., Bill of Rights, Sec 6, 10, 23, 24, 25, 28).




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                                                   Respectfully Submitted and All Rights Reserved,

                                                                     /s/ Alyssa Chrystie Montalbano

                                                     Alyssa Chrystie Montalbano, American Citizen
                                                                               2536 Rimrock Ave
                                                                                    Suite 400-117
                                                                        Grand Junction, CO 81505
                                                               E-mail: LegalZenACM@gmail.com
                                                                           Defendant and Plaintiff




                                      Certificate of Compliance

   I certify the foregoing Motion complies with the type-volume limitation set forth in Judge
   Domenico‟s Practice Standard III(A)(1).


                                   CERTIFICATE OF SERVICE

   I certify that on this 9th day of December 2022 a copy of the foregoing Motion was filed with the
   clerk of the court using the CM/ECF system and are lawfully served upon relevant parties
   counsels and upon appeared Defendants, through the Case Management/Electronic Case Filed
   (CM/ECF) court filing system. (FRCP Rule 5); and upon pro se litigants Mr. David Wilcock and
   WILCOCK FOUNDATION via USPS Certified Mail #7021 0950 0001 5240 1746 appointed
   agent CORPORATE CAPITAL INC., Mr. Brent Carlson, 7848 W. Sahara Ave, Las Vegas,
   NV 89117.

   /s/ Alyssa Montalbano

   Alyssa Montalbano, American Citizen




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